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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           §   MAG. NO. C-10-1015-2
                                              §
LUBY JANET LUNA                               §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

         (1)   There is a serious risk that the defendant will not appear; and

         (2)   There is a serious risk that the defendant will endanger the safety of another

person or the community.

         The evidence against the defendant meets the probable cause standard. A co-

defendant told agents that Ms. Luna was to be paid for her part in smuggling aliens, who

were in the same car as Ms. Luna. The co-defendant also told agents that Ms. Luna

advised the aliens to keep quiet as the group passed through the checkpoint. Although

Ms. Luna denied knowing the aliens, another co-defendant stated that the aliens had been

staying with Ms. Luna’s parents.

         The findings and conclusions contained paragraphs one through four of the

Pretrial Services Report are adopted. Just three weeks ago the defendant was placed on a

$25,000 bond for a felony in state court. A basic condition of any bond is that no new

crimes be committed. The defendant has demonstrated that she is either unwilling or


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unable to comply with court-ordered conditions of release. She is a poor bond risk.

       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 7th day of October, 2010.


                                             ___________________________________
                                             B. JANICE ELLINGTON
                                             UNITED STATES MAGISTRATE JUDGE




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